Case 2:03-cr-20047-SH|\/| Document 78 Filed 05/10/05 Page 1 of 2 Page|D 107

UNITED STATES DISTRICT COURT
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WESTERN DISTRICT OF TENNESSEE :€_£j§lii "\"\:H. `z` i 1.: z

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' _'."i`,`- r"- .

UNITED STATES OF AMERICA )

) CR. No. -20047-B
vs. )

)
VALERIE ALBONETTI )

APPLICATION, ORDER and WRIT FOR HABEAS CORPUS AD PROSEOUENDUM

V. Rae Oliver AUSA applies to the Court for a Writ to have Valerie Albonetti-R&I No. 87866

 

now being detained in the Desoto Countg Jail, appear before Judge Samuel H. Mays on 13th,

May, 2005, at 3:00 p.m. for a Su ervised Release Violation Hearin and for such other

 

appearances as this Court may direct.

Respectfully submitted this lOth day of May, 20 5.

7&¢ [)/¢M.

V. RAE OLIVER
Assistant U. S. Attorney

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Upou consideration of the foregoing Application,
I)AVID JOLLEY, U.s. MARSHAL, WESTERN DISTRICT OF TENNESSEE, MEMPHIS, TN
sHERIFF/WARDEN, Mark Luttrell

YOU ARE HEREBY COMMANDED to have Valerie Albonetti-R&I #8'7866 appear before the

Honorable Judge Mays at the date and time aforementioned

we
ENTERED this /0 day of 7 7( w , 2005.

AJ 144/iu %é~¢(bd/r

UNITED STATES MAGISTRATE JUDGE

  
 

Thfs document entered on the docket shea
with Flu|e 55 and/or 32(b) FRCrP on

 

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ENNESSEE

 

Valeria Rae Oliver

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Honorable Samuel Mays
US DISTRICT COURT

